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                  22-2987
          IN THE UNITED STATES COURT OF APPEALS
                    FOR THE SECOND CIRCUIT
                     ————————————-
BRETT CHRISTIAN, FIREARMS POLICY COALITION, INC., SECOND AMENDMENT
                         FOUNDATION, INC.,
                                                  Plaintiffs-Appellees
                                    - v. –
STEVEN A. NIGRELLI, in his Official Capacity as Acting Superintendent of the
                          New York State Police,
                                                  Defendant-Appellant,
                    (Caption continues inside front cover.)
                       ————————————-
              On Appeal from the United States District Court
   for the Western District of New York, No. 1:22-cv-695 (Sinatra, Jr., J.)
                       ————————————-
BRIEF OF AMICI CURIAE GIFFORDS LAW CENTER TO PREVENT
  GUN VIOLENCE, BRADY, AND MARCH FOR OUR LIVES IN
           SUPPORT OF APPELLANTS AND REVERSAL
                        ———————————-
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                                             Giffords Law Center to Prevent Gun
                                             Violence, Brady, and March for Our
                                             Lives
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(Caption continues from front cover.)

JOHN BROWN,
                                                    Plaintiff,

                                              v.

JOHN J. FLYNN, in his official capacity as District Attorney for the County of Erie,
New York,

                                                    Defendant-Appellee.
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                         INTEREST OF AMICI CURIAE1

       Amicus curiae Giffords Law Center to Prevent Gun Violence (“Giffords

Law Center”) is a non-profit policy organization serving lawmakers, advocates,

legal professionals, gun violence survivors, and others who seek to reduce gun

violence and improve the safety of their communities. The organization was

founded more than a quarter-century ago following a gun massacre at a San

Francisco law firm and was renamed Giffords Law Center in 2017 after joining

forces with the gun-safety organization led by former Congresswoman Gabrielle

Giffords. Today, through partnerships with gun violence researchers, public health

experts, and community organizations, Giffords Law Center researches, drafts, and

defends the laws, policies, and programs proven to effectively reduce gun violence.

Giffords Law Center also advocates for the interests of gun owners and law

enforcement officials who understand that Second Amendment rights have always

been consistent with gun safety legislation and community violence prevention

strategies.




1
 All parties have consented to the filing of this brief. See Fed. R. App. P. 29(a).
No counsel for a party authored this brief in whole or in part; no counsel or party
made a monetary contribution to fund its preparation or submission; and no person
other than Amicus, its members, or its counsel made a monetary contribution to
fund the preparation or submission of the brief. See Fed. R. App. P. 29(a)(4)(E);
Local R. 29.1(b).


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      Giffords Law Center has contributed technical expertise and informed

analysis as an amicus in numerous cases involving firearm regulations and

constitutional principles affecting gun policy. See, e.g., New York State Rifle &

Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022); McDonald v. City of Chicago,

561 U.S. 742 (2010); District of Columbia v. Heller, 554 U.S. 570 (2008);

Libertarian Party v. Cuomo, 970 F.3d 106 (2d Cir. 2020); Antonyuk v. Hochul,

2022 WL 16744700 (N.D.N.Y.). Several courts have cited research and

information from Giffords Law Center’s amicus briefs in Second Amendment

rulings. See, e.g., Ass’n of N.J. Rifle & Pistol Clubs v. Att’y Gen. N.J., 910 F.3d

106, 121-22 (3d Cir. 2018); Stimmel v. Sessions, 879 F.3d 198, 204, 208, 210 (6th

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banc) (Graber, J., concurring); Hirschfeld v. Bureau of Alcohol, Tobacco, Firearms

& Explosives, 417 F. Supp. 3d 747, 754, 759 (W.D. Va. 2019); Md. Shall Issue v.

Hogan, 353 F. Sup. 3d 400, 403-05 (D. Md. 2018).

      Amicus curiae Brady is the nation’s most longstanding nonpartisan,

nonprofit organization dedicated to reducing gun violence through education,

research, and legal advocacy. Brady has a substantial interest in ensuring that the

Constitution is construed to protect Americans’ fundamental right to live. Brady

also has a substantial interest in protecting the authority of democratically elected

officials to address the nation’s gun violence epidemic. Brady has filed amicus



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briefs in many cases involving the regulation of firearms, including Bruen, 142 S.

Ct. 2111 (2022); Heller, 554 U.S. 570 (2008), and Guedes v. Bureau of Alcohol,

Tobacco, Firearms & Explosives, 45 F.4th 306 (D.C. Cir. 2022).

      Amicus curiae March For Our Lives Foundation (“MFOL”) is a youth-led

non-profit organization dedicated to promoting civic engagement, education, and

direct action by youth to achieve sensible gun violence prevention policies that will

save lives. Formed after the mass shooting at Marjory Stoneman Douglas High

School in Parkland, Florida, MFOL immediately began organizing the largest

single day of protest against gun violence in the nation’s history. From its Road to

Change initiative that registered 50,000 new voters in 2018 to its successful

advocacy for dozens of state, local, and federal laws, MFOL uses the power of

youth voices to create safe and healthy communities and livelihoods for all. These

young people—all too familiar with mass shootings and other forms of gun

violence—have a vital interest in ensuring that the Constitution is correctly

interpreted to allow for the enactment of reasonable gun violence prevention

measures, including public carry licensing regimes, to protect all Americans.

      MFOL has participated as amicus curiae in other cases that affect its core

interest in preventing gun violence. It has filed amicus briefs in Bruen, 142 S. Ct.

2111 (2022); New York State Rifle & Pistol Ass’n, Inc v. City of New York, 140 S.

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                                 INTRODUCTION
      As the Supreme Court has held, law-abiding, responsible citizens have a

right to carry firearms, but that right is not unlimited. In its recent decision, New

York State Rifle & Pistol Association v. Bruen, the Supreme Court explained that—

if a challenged regulation impinges upon the Second and Fourteenth

Amendments—then courts should undertake a historical analysis when considering

constitutional attacks against it. Recognizing that modern regulations often will

not have a corresponding “historical twin,” the Court endorsed an approach that

allows for analogical reasoning, examining the “hows” and “whys” of modern and

historical gun regulations to determine if they are in keeping with the “balance

struck by the founding generation” and later generations, including around the time

of Reconstruction. The standard under Bruen does not require a surface-level

historical match for a modern regulation. Instead, the test is whether the

motivation underlying modern regulations (the why) and methods used by modern

regulations (the how) are in line with that balance. The motivations underlying

historical regulations and the methods used by such regulations in the past will

inform this inquiry.

      The district court below erred at the outset, by seeking to apply Bruen’s test

to a provision of law that does not implicate the Second Amendment at all.

Additionally, the district court erred in applying Bruen, by failing to do so in the



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way that the Supreme Court mandated. District courts throughout this Circuit have

similarly misunderstood and misapplied Bruen, and this Court is well-positioned to

articulate the correct standard.

      Further, given the proper understanding of Bruen’s standard, and as

explained below, scientific research provides critical evidence that courts should

consider when analyzing the “hows” and “whys” of gun regulations. And, the

results of the research are clear: More guns in a space—including on the private

property at issue here—make us less safe. This conclusion confirms that laws

concerning how individuals decide whether to allow firearms onto their property

are driven by a well-founded motivation to promote safety, a motivation that has

deep roots in the historical tradition of gun regulations in this country. The New

York Concealed Carry Improvement Act (“CCIA”), which prohibits an

individual’s entering the private property of others with a firearm when he knows

or reasonably should have known that the owner or lessee has not expressly

consented to firearms on the property, is such a law. Because this regulation is

clearly constitutional under the standard articulated in Bruen, this Court should

reverse the decision below.




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                                   ARGUMENT

I.    The Law’s Private Property Rule Does Not Implicate the Second
      Amendment.
      The Second Amendment test set out in Bruen only applies if “the Second

Amendment’s plain text covers [the] conduct” at issue. Bruen, 142 S. Ct. at 2126.

The conduct at issue here—carrying firearms onto the property of other persons

without their consent—is not covered by the Second Amendment. To the contrary,

the right to exclude is an essential property right. See, e.g., Cedar Point Nursery v.

Hassid, 141 S. Ct. 2063, 2077 (2021). This right gives property owners the ability

to banish many constitutionally protected activities from their personal property,

including, for example, free speech, free assembly, and, as here, the bearing of

arms. See, e.g., GeorgiaCarry.Org, Inc. v. Georgia, 687 F.3d 1244, 1265 (11th

Cir. 2012), abrogated on other grounds by Bruen, 142 S. Ct. at 2126, n.4 (refusing

to “turn Heller on its head by interpreting the Second Amendment to destroy one

cornerstone of liberty—the right to enjoy one’s private property—in order to

expand another—the right to bear arms.”).

      As appellant Nigrelli has shown in his briefing in this case, and as other

amici have shown in briefing concerning the New York law, the state law here

does nothing more than to preserve this historical private right to exclude. To the

extent that the New York law changes anything, it merely switches the default

presumption, such that property owners can exercise their right to exclude simply


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by virtue of their ownership, rather than requiring them to take overt action. Now,

as before the New York law was enacted, individuals are permitted to carry

firearms onto private property only if the owner has decided to act, or not act, to

allow them to do so. Because the law takes no Second Amendment rights away

from New Yorkers, it does not implicate conduct that the Second Amendment

“covers.”

      This should be the end of the matter. Thus, as discussed further in Section

III, the district court erred by ignoring the threshold question of whether New

York’s private property regulation limits Second Amendment rights at all. But,

because the private property regulation would be constitutional even if it did

implicate the Second Amendment, we nonetheless next address the Bruen

standard.

II.   For Regulations that Do Implicate the Second Amendment, the Circuit
      Courts Must Articulate a Workable Test Under Bruen.

      In Bruen, the Supreme Court set out a history-based test for evaluating the

constitutionality of firearm regulations. 142 S. Ct. at 2126. It begins with a

threshold inquiry, identifying the relevant course of conduct and asking whether

the “plain text” of the Second Amendment protects that conduct. Id. The plaintiff

challenging the regulation bears the burden on that inquiry. Id. The test then

proceeds to an analogical inquiry comparing modern and historical laws. Id. Thus

far, and as exemplified by the district court’s decision here, district courts are


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flailing in their attempts to correctly understand and apply Bruen’s historical test.

In their confusion, some district courts have misunderstood this test to involve

nothing more than a superficial comparison between modern regulations and

historical ones. This approach has led to rigid analyses that are not consistent with

the considerably more nuanced approach that the Bruen Court mandated.

      As an example, consider United States v. Perez-Gallan, 2022 WL 16858516

(W.D. Tex. Nov. 10, 2022), currently on appeal, concerning the constitutionality of

a statute that, in order to primarily protect vulnerable women and children exposed

to special dangers, restricts certain domestic abusers’ access to firearms. In trying

to apply Bruen, the court there reached a conclusion that cannot reasonably be

viewed as consistent with what the framing generation intended to accomplish by

adopting the Second Amendment. To the contrary, historical evidence

indisputably reveals that “founding-era legislatures categorically disarmed groups

whom they judged to be a threat to the public safety.” Id. at *11. The district court

nonetheless incorrectly struck down the federal statute at issue because the

historical record lacked specific evidence of the “federal government’s

disarmament of domestic abusers.” Id. at *12 (emphasis added). In reaching this

result, the district court failed to set reasoned parameters for the analogical inquiry.

Societal judgments about what constituted domestic abuse in 1791 bear little or no

resemblance to the current judgments about that serious problem. Rather, the



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“nuanced approach” to the Bruen analogical inquiry should have focused on using

societal judgments regarding violence and dangerousness as a measure for who

may be armed, then and now. See Bruen, 142 S. Ct. at 2132 (acknowledging that

“other cases implicating unprecedented societal concerns or dramatic technological

changes may require a more nuanced approach”).

      Or consider Hardaway v. Nigrelli, 2022 WL 16646220 (W.D.N.Y. Nov. 3,

2022), also on appeal, in which the district court remarkably concluded that a well-

established tradition of firearm bans in public spaces such as legislative

assemblies, polling places, and courthouses supports such restrictions only in

places “where a bad-intentioned armed person could disrupt key functions of

democracy,” id. at *14 (all but final emphasis removed), but not similar protections

against “bad-intentioned armed person[s]” who would kill numerous congregants

in a single attack in a religious assembly. Id.

      The muddled reasoning behind these lower-court decisions puts Second

Amendment jurisprudence in precisely the kind of “regulatory straightjacket” that

Bruen disclaimed. Bruen, 142 S. Ct. at 2133. Properly understood, Bruen’s test

does not call for the kind of surface-level historical matching game that these

district courts have played. Instead, a proper application of Bruen’s standard

requires courts to consider the motivation underlying regulations and the methods

used by the regulations to determine whether modern regulations are in line with



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the balance struck by earlier generations. The steps required for this deeper

inquiry are set out in Bruen.

      At the outset, the Bruen Court instructed that modern regulations implicating

conduct covered by the “plain text” of the Second Amendment must be “consistent

with this Nation’s historical tradition of firearm regulation.” Id. at 2126 (emphasis

added). A modern regulation is “consistent” with this historical tradition if it is

“analogous” to—although not necessarily a “twin” of or “dead ringer” for—

historical regulations. Id. at 2133. When explaining the analogical method to use,

the Court identified two relevant metrics: the “how” and the “why” of the

regulation’s effect on Second Amendment rights. Id. Assessing and weighing a

challenged regulation’s “how” and “why” is necessary to determine whether the

regulation imposes a “comparable burden” that is “comparably justified” when

compared with founding-era restrictions. Id. If the “how” and “why” are

comparable to historical regulations, then the regulation is in keeping with the

“balance struck by the founding generation,” and is constitutional. Id. at 2133 n.7.

      Naturally, determining whether the regulation’s “how” and “why” are in

keeping with this “balance” requires courts to identify and apply the relevant

considerations of the legislature when passing the law. On one side are arrayed the

undeniably strong governmental interests in protecting public safety, or what

Bruen calls the regulation’s “why.” Id. at 2133. On the other side is the way in



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which the regulation limits Second Amendment rights to achieve that interest—

what Bruen calls the regulation’s “how.” Id. Courts applying Bruen must look

closely into these considerations and determine whether the historical and modern

laws are relevantly analogous. Id. at 2132–33.

      Thus, the underlying motivation for the regulation—its “why”—is critical to

Bruen’s test. One of the key errors in district court opinions such as the cases cited

above—as well as the ruling below here—is that they have failed to properly

assess and, importantly, analogize the reason for the regulations they have

considered.

      This case presents an ideal opportunity for this Court to correct these errors

by setting out a workable template for how courts in this Circuit are to apply

Bruen. This case is an excellent example of these issues because it concerns the

same regulatory context that the Supreme Court considered in Bruen, as well as a

licensing scheme written to meet the Bruen Court’s specific guidance about what

would make such a regulation constitutional. Thus, this case allows this Court to

elaborate on its application of Bruen consistent with the Bruen Court’s

instructions. In addition, and as explained in more detail below, the district court’s

erroneous application of Bruen here is a prime example of what the Bruen test is

not. By reversing the lower court and setting out the proper standard, this Court




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will clarify the standard for other courts to follow in considering challenges to

legislatively enacted restrictions implicating the Second Amendment.

       The emphasis on an analogical inquiry, as opposed to a one-to-one match or

other more rigid method of comparison, is of critical importance. Inherent in the

Bruen methodology is a recognition of the massive differences between the

circumstances faced by 18th-, 19th-, and even early-20th-century legislatures and

those faced by legislatures today. Technological and societal changes have

drastically altered the harms that legislators must address with firearms regulations.

Modern gun violence perpetrated by single individuals wielding high-velocity

weapons with large magazines would have been as foreign to legislators of

centuries past as the notion of space travel. The greater the “unprecedented

societal concerns or dramatic technological changes” addressed by the modern

legislature, the more critical it is to use the “more nuanced approach” to the

analogical inquiry that Bruen expressly dictates. Id. at 2132. And we know that

the Bruen Court acknowledged the validity of one major, historical concern:

promoting safety. Id. at 2144–45.

III.   The District Court Erred in its Application of Bruen.

       Taking into account the proper analogical framework prescribed by Bruen, it

is clear the district court here erred in its analysis.




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      First, as noted in Section I, the district court did not properly analyze

whether plaintiffs had met their burden on the first step of the Bruen analysis:

whether the Second Amendment text covers the individual’s conduct. Here, the

relevant conduct is carrying firearms onto others’ property without their consent.

Remarkably, after noting that Bruen held “[t]he Second Amendment’s plain text

. . . presumptively guarantees petitioners . . . a right to bear arms in public for self-

defense,” Christian v. Nigrelli, 2022 WL 17100631, at *6 (W.D.N.Y. Nov. 22,

2022) (quoting Bruen, 142 S. Ct. at 2135), the district court declared that “Bruen’s

articulation of ‘in public’ is not a limitation,” id. at *6 n.12. Such unsupported

reasoning extends far beyond Bruen’s holding. Bruen does not extend the Second

Amendment’s text to protect bearing arms on the private property of others.

      Nothing in the Supreme Court’s discussion in either the Heller or Bruen

decisions supports such a notion, which would have been antithetical to the

framers’ obvious concerns to protect private property rights, as demonstrated in the

first ten amendments to the Constitution. Through those amendments, that

generation forbade quartering soldiers in peacetime “in any house, without the

consent of the owner”; protected the “right of the people to be secure in their . . .

houses” against unreasonable searches without warrants; and prohibited any

deprivation of “property, without due process of law” or taking of “private

property . . . for public use, without just compensation.” See U.S. Const. amends.



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III−V. Yet, the district court here would have us believe that the Second

Amendment, which was ratified at the same time, was intended to undermine the

relative sanctity of private property by requiring owners to state affirmatively that

guns could not be carried onto their property.

      Second, the court places much emphasis on its determination that the right to

exclude belongs to the private property owner, not the state, and thus the state

cannot enact a regulation that intrudes upon a right belonging to the private

property owner. Id. at *9. But this regulation does not intrude upon that right;

rather, it standardizes the means for communicating such exclusion, or non-

exclusion; the decision (and therefore the right) still rests with the property owner.

The New York law in no way intrudes on the rights of property owners, who

remain free to decide unilaterally—with no government interference or permission

needed—if they wish to allow other persons to carry weapons onto their property.

In any event, governments regularly pass regulations that limit the rights private

property owners may exercise, and those regulations apply equally to Second

Amendment-related activity on property. For example, gun ranges are subject to

zoning ordinances or building codes. Even if such ordinances or codes limit how

people can participate in Second Amendment-related activities, the government

can limit the size of buildings, or restrict a gun range from being built at all on

particular property.



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      Third, the district court conducted no independent analogical reasoning of

the “how” and “why” of the historical regulations as compared to the modern

regulation. Instead, the court emphasized that the historical regulations cited by

the state did not carry the state’s burden for the same reasons given in Antonyuk.

Id. at *7. The district court’s failure to conduct its own independent analysis

merely compounds Antonyuk’s error on this point. In Antonyuk, the court engaged

in surface-level matching of the historical and modern regulations, categorizing six

of the eight historical regulations as “anti-poaching laws,” and then reasoning that

because the modern restriction did not specifically involve hunting it could not be

analogized. Antonyuk, 2022 WL 16744700, at *79. This is despite acknowledging

that (a) poaching—like modern-day handgun violence—“was a pernicious problem

at the time [of the regulations],” and (b) modern regulations preventing carrying

firearms onto the property of others are an accepted way to address such a

problem. Id.

      The errors apparent in the district court’s opinion, and confusion from

district courts throughout the Second Circuit, necessitate an explanation of the

proper application of Bruen by this Court.

IV.   The Efficacy of Gun Laws in Accomplishing Their Purpose Is Relevant
      Under the Bruen Standard.

      One of the most significant flaws in the district court’s reasoning here was

its failure to fully consider and compare the reason—the “why”—underlying either


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historical regulations or the New York law. As explained in Part I, Bruen makes

clear that understanding a regulation’s “why” is key to determining whether the

“regulatory burden” of the challenged statute is “comparably justified” when

compared to historical regulations, and therefore in keeping with the historical

balance.

      Modern legislatures look to scientific research to understand the scope of a

public harm as well as the effective means for addressing it through legislation.

Here, a key purpose of the New York law is to give property owners a more

effective and efficient means of keeping their property safe from those who would

bear dangerous arms on their private property without consent. Thus, this

purpose—as well as scientific research bearing on whether the statute is effective

in promoting that purpose—are key considerations under Bruen.

      A.     The Safety-Promoting Purpose of Firearm Regulation Is a Key
             Consideration Under Bruen.

      Promoting public safety is, and always has been, a significant part of the

“why” underlying relevant firearm regulations. This was true at the time of the

Nation’s founding, as reflected by numerous contemporary gun regulations.2


2
 See, e.g., A Law for the Better Securing of the City of New York from the
Danger of Gun Powder (1763) https://bit.ly/3oZ9Vrw (setting storage requirements
due to the danger of gunpowder); 1763–1775 N.J. Laws 346, An Act for the
Preservation of Deer and Other Game, and to Prevent Trespassing with Guns, ch.
539, § 10 https://bit.ly/3A3lg00 (“Whereas a most dangerous Method of setting
Guns has too much prevailed in this Province . . . .”) (emphasis added));

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      Safety continues to be the crux of modern firearms regulations. And

because the Second Amendment sets a “balance”—not a frozen-in-time rule—new

safety issues may justify novel regulations that serve the same broad purposes as

historical ones. As Bruen recognized, present-day safety issues may raise

“unprecedented societal concerns.” Bruen, 142 S. Ct. at 2132. These new

problems may require new regulations, including regulations that would have been

“unimaginable at the founding.” Id. It is precisely this responsiveness to new

societal issues that enables the Second Amendment “to be adapted to the various

crises of human affairs,” and thus “endure for ages to come.” Id. at 2132 (quoting

McCulloch v. Maryland, 4 Wheat. 316, 415 (1819)).

      Indeed, the Second Amendment would be of little use to the people if it did

not allow for legislatures to respond to new circumstances—whether immediately

after its ratification, or today. Given the passage of time, today’s safety issues may




Ordinances of the City of Pittsburgh, An Act to Suppress the Disorderly Practice of
Firing Guns, etc. on the times therein mentioned, § 1 (1774), https://bit.ly/3p2y7cE
(preventing firing guns in urban setting because of the danger it posed to the
public); Proceedings of the Conventions of the Province of Maryland Held at the
City of Annapolis, in 1774, 1775, & 1776, https://bit.ly/3BKRH4N (requiring
permission from the “council of safety” to transport guns out of the province)
(emphasis added)); 1784–1785 N.Y. Laws 152, An Act to Prevent Firing of Guns
and Other Firearms within this State, on Certain Days Therein Mentioned, ch. 81,
https://bit.ly/3QpYRzw (noting that “great dangers have arisen” due to the
“pernicious practice of firing guns”) (emphasis added)).


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require new regulations.3 So long as the balance between the reasons motivating

the regulation and the degree of its restriction remains in keeping with the “balance

struck” at the founding, these new measures are constitutional.

      Thus, understanding the safety-promoting reasons for the challenged

regulation is crucial to applying the Bruen test.

      B.     Science Shows New York’s Law Effectively Accomplishes the
             Underlying Safety Purpose.

      For decades, academic researchers have studied the effects of gun possession

on safety. Though the details of the studies and their specific focuses vary, one

consistent conclusion has emerged from the reliable scientific data available: more

guns in spaces make us less safe, not more. This scientific consensus illustrates

that New York’s law at issue here, which has to do with the way that property

owners decide whether to allow firearms on their property, is driven by a concern

for safety. This is the same motivation—the “why”—that inspired regulations on

guns before and at the founding, during Reconstruction, and into the modern era.



3
 This is particularly true here, where there are significant new concerns about
shootings on private property from firearms that the property owners did not want
present. Consider, for example, the 2022 Buffalo, New York shooting in a
privately owned supermarket that killed 10 people and wounded 3 more; the 2017
Las Vegas shooting from a privately owned hotel that killed 58 people and
wounded hundreds more; the 2016 shooting at a privately owned Orlando
nightclub that killed 49 people and wounded over 50 more; or the recent California
shootings in January 2023, at a privately owned dance studio and two farms,
killing 18 people in total.


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                   1.    Stronger Gun Regulations Reduce Violent Crime and
                         Enhance Safety.

         Reliable studies based on hard data consistently demonstrate that lenient

right-to-carry (“RTC”) laws are associated with increased violent crime and

homicide rates. Indeed, “the predominant conclusion from studies in the last five

years has been that RTC laws increase violent crime.”4 Stanford professor John

Donohue’s work in this area shows persistent increases in violent crime rates in

states with more permissive licensing regimes. In a recent June 2022 study

analyzing a sample drawn from 47 major U.S. cities, Donohue and his colleagues

concluded that right-to-carry gun laws “increase overall firearm violent crime as

well as the component crimes of firearm robbery and firearm aggravated assault by

remarkably large amounts with an attendant finding of no sign of any benefit from

RTC laws.”5

         In particular, Donohue’s study found that these lenient RTC laws led to 29

and 32 percent increases in firearm violent crime and firearm robbery,

respectively.6 The study found a “massive 35 percent increase in gun theft, with




4
 See John Donohue et al., More Guns, More Unintended Consequences: The
Effects of Right-to-Carry on Criminal Behavior and Policing in U.S. Cities, at 1
(Nat’l Bureau of Econ. Res. Working Paper No. 30190, June 2022).
5
    Id. at 25.
6
    See id. at 3, 25.


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further crime stimulus flowing from diminished police effectiveness.”7 The study

observed that right-to-carry laws “cause a roughly 13 percent decline in the rates

that police clear violent crime, suggesting that [right-to-carry] laws strike at the

very heart of law enforcement’s abilities to address criminal conduct.”8

         Sadly, lenient gun laws make it more likely that interactions between

members of the public and the police will become more violent. A recent study

published by researchers at Johns Hopkins University found that states moving to

more lenient, permitless concealed carry regimes experience an almost 13 percent

increase in officer-involved shootings.9 Further compounding the danger posed by

more guns outside the home, scientific research confirms that guns are rarely used

in self-defense in such settings, and often cause harm to innocent bystanders when

they are.10 Ultimately, Donohue and his colleagues conclude that “any such

[deterrent] benefits are substantially offset by the crime-enhancing impacts of

increased gun carrying.”11




7
    Id. at 27.
8
    Id. at 3.
9
 See Mitchell L. Doucette et al., Officer-Involved Shootings and Concealed Carry
Weapons Permitting Laws: Analysis of Gun Violence Archive Data, 2014–2020, J.
URBAN HEALTH (2022)
10
     See infra Section IV.B.2.
11
     Donohue et al., supra note 4 at 2.


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           The recent research by Donohue is supported by additional scientific

research confirming that lenient gun laws increase violent crime.12 For example, in

December 2017, researchers at Boston University and Duke University released

the first-ever analysis of the impact of concealed carry laws on handgun and long-

gun homicide rates.13 Their study concluded that permissive right-to-carry

concealed carry laws were significantly associated with higher crime rates—in

particular, 6.5 percent higher total homicide rates, 8.6 percent higher firearm-

related homicide rates, and 10.6 percent higher handgun-specific homicide rates,

compared to states with stronger regulations.14 This robust, well-supported body

of evidence confirms that, just as governments at the nation’s founding and during

Reconstruction sought to protect their citizens by restricting the use and display of

guns outside the home, New York’s licensing law promotes safety by protecting




12
   See, e.g., Rashna Ginwalla et al., Repeal of the Concealed Weapons Law and Its
Impact on Gun-Related Injuries and Deaths, 76 J. TRAUMA ACUTE CARE SURG.
569, 569, 573 (2014), https://www.academia.edu/10480999 (lax concealed carry
permitting laws are associated with increased gun fatalities); Daniel W. Webster et
al., Firearms on College Campuses: Research Evidence and Policy Implications 8
(Oct. 15, 2016) (discussing data on 111 high-fatality mass shootings from 1966–
2015, finding that in the 41 states with RTC laws or no concealed carry
regulations, the average death toll in high-fatality mass shootings increased
following the implementation of an RTC law).
13
  Michael Siegel et al., Easiness of Legal Access to Concealed Firearm Permits
and Homicide Rates in the United States, AM. J. PUB. HEALTH 1 (Dec. 2017).
14
     Id.


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New York citizens from statistically proven increases in violent crime and firearm

homicide.

              2.    Firearms Are Rarely Used in Self-Defense Outside of the
                    Owner’s Home and More People Carrying Guns
                    Undermines Safety.
      Regulating the carry of firearms is motivated by a concern for safety.

Contrary to some popular beliefs,15 carrying firearms outside the home for self-

defense produces no safety benefits for society and likely exposes even gun

carriers themselves to greater harm. Recent research confirms that crime victims

rarely use guns in self-defense outside of their own homes and that persons

carrying firearms are, objectively, no safer than other crime victims. A 2015 study

found that victims of violent crimes use firearms in self-defense in less than one

percent of all criminal incidents.16 And, compared to other self-protective actions

that do not involve a firearm, data from the National Crime Victimization Surveys

provide little evidence that defensive gun use is beneficial in reducing the




15
  For decades, the gun industry has been deceptively marketing firearms as a safe
means of protection. See generally, Brady, Giffords Law Center to Prevent Gun
Violence, and March for Our Lives, The Gun Industry’s Advertising: Effective,
Deadly, and Actionable, Petition to the Federal Trade Commission (Apr. 7, 2022),
https://firearmsaccountability.org/FTCPetition.pdf.
16
  See David Hemenway & Sara J. Solnick, The Epidemiology of Self-Defense Gun
Use: Evidence from the National Crime Victimization Surveys 2007–2011, 79
PREVENTIVE MED. 22, 23 (Oct. 2015).


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likelihood of injury or property loss.17 A 2019 analysis of data from the FBI’s

Uniform Crime Reporting program confirmed that while guns can be, and

sometimes are, successfully used for self-defense, these cases are the exception,

rather than the rule.18 The analysis instead emphasized that “[t]he reality of self-

defense gun use bears no resemblance to the exaggerated claims of the gun lobby

and gun industry”: “When analyzing the most reliable data available, what is more

striking is that in a nation of more than 300 million guns, how rarely firearms are

used in self-defense.”19

           In fact, one study concluded that carrying a firearm may increase a victim’s

risk of firearm injury during the commission of a crime. In an analysis of 677

shootings over a two-and-a-half-year period in Philadelphia, researchers found,

after adjusting for confounding factors, that individuals carrying a gun were 4.46

times more likely to be shot in an assault than those not carrying a gun, and they

were more than 4.23 times as likely to be fatally shot.20 Even in assaults where the




17
     See id., at 23–24.
18
 See Violence Policy Center, Firearm Justifiable Homicides and Non-Fatal Self-
Defense Gun Use 7 (June 2015), https://www.vpc.org/studies/justifiable17.pdf.
19
     Id.
20
  See Charles C. Branas et al., Investigating the Link Between Gun Possession and
Gun Assault, 99 AM. J. PUB. HEALTH 2034, 2037 (Nov. 2009),
https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2008.143099.


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victim had at least some opportunity to resist, individuals carrying a gun were 5.45

times more likely to be shot than those not carrying a gun.21

           Moreover, it is essential to understand that to the extent individuals may

attempt to use a firearm in self-defense, it is unlikely that they possess the skills to

do so safely and effectively. Put bluntly, real life is not like a Hollywood movie in

which a hero with a gun appears to expertly and accurately shoot the villain and

save the day. As a 2016 report from public health experts at Johns Hopkins

University reported, “[s]hooting accurately and making appropriate judgments

about when and how to shoot in chaotic, high-stress situations requires a high level

of familiarity with tactics and the ability to manage stress under intense

pressure.”22 Accuracy “is influenced by distance, the opponent shooter’s actions,

lighting, use of cover, type of gun, and more.”23 This report confirmed that most

people simply do not have the tactical ability to successfully use a gun for self-

defense, particularly in urban or densely populated areas, and may end up




21
     See id.
22
     See Webster et al., supra note 12, at 10.
23
     Id.


                                             24
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“wounding or killing innocent victims” if they attempt to do so.24 Such incidents

occur with tragic regularity.25

           Moreover, regardless of their degree of tactical training, recent examples

demonstrate that when individuals carry guns outside of their own homes, there is

an increased risk that they will wield their firearms in situations that actually place

themselves and others in greater danger. Gun carriers—even those with training—

have injured and killed innocent people after mistakenly perceiving a threat.26 And

the mere presence of a gun can exacerbate everyday disputes into lethal

confrontations. This is consistent with a broader body of behavioral research




24
     Id.
25
  See Teen Crash Victim Shot, Killed Bystander Trying to Help at Lowell
Intersection, Police Say, WSOC TV (Aug. 10, 2022),
https://www.wsoctv.com/news/local/lowell-police-investigate-wreck-deadly-
shooting-busy-intersection-suspect-
custody/AG2C7SJNGNDU7PR2U4XDI2PUTQ/ (reporting that a bystander was
fatally shot by a car crash victim when he opened a car door to render aid); Joshua
Rhett Miller, 9-Year-Old Houston Girl Dies after Being Shot by Robbery Victim,
N.Y. POST (Feb. 16, 2022), https://nypost.com/2022/02/16/9-year-old-dies-after-
being-shot-by-houston-robbery-victim/(reporting that a 9-year-old girl was fatally
shot by a robbery victim who opened fire on a vehicle that he thought contained
the robber, but actually contained an innocent family of five).
26
   See, e.g., Police: Man Arrested for Shooting Uber Driver Thought He Was
Helping, FOX 4 NEWS (May 16, 2017), https://www.foxla.com/news/police-man-
arrested-for-shooting-uber-driver-thought-he-was-helping.amp; William Saletan,
Friendly Firearms, SLATE (Jan. 11, 2011),
http://www.slate.com/articles/health_and_science/human_nature/2011/01/friendly_
firearms.html.


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demonstrating that merely seeing a weapon can increase aggressive thoughts and

hostile appraisals, and possibly even aggressive behavior.27

         Thus, the body of reliable scientific evidence demonstrates both that (1)

guns are unlikely to be used in self-defense, and (2) if guns are used in self-

defense, they are likely to be used in a dangerous and ineffective way. Despite this

scientific consensus, gun rights activists often point to discredited arguments made

by John Lott, an economist, who claims that loose concealed carry regulations

reduce violent crime.28 But in fact, Lott’s conclusion that RTC laws are associated

with lower crime rates has been widely rejected.29 Lott’s research is infamous

because its core conclusion has been debunked by researchers who were either




27
  See Arlin J. Benjamin, Jr. et al., Effects of Weapons on Aggressive Thoughts,
Angry Feelings, Hostile Appraisals, and Aggressive Behavior: A Meta-Analytic
Review of the Weapons Effect Literature, PERSONALITY & SOC. PSYCH. REV. 22(4)
(2018),
https://www.researchgate.net/publication/319878868_Effects_of_Weapons_on_Ag
gressive_Thoughts_Angry_Feelings_Hostile_Appraisals_and_Aggressive_Behavi
or_A_Meta-Analytic_Review_of_the_Weapons_Effect_Literature.
28
     See John R. Lott, Jr., More Guns Less Crime (3d ed. 2010).
29
  See, e.g., Ian Ayres & John J. Donohue III, Shooting Down The More Guns, Less
Crime Hypothesis, 55 STAN. L. REV. 1193, 1284 (2003),
http://digitalcommons.law.yale.edu/fss_papers/1241(“We take these results to be
generally devastating to Lott’s ‘More Guns, Less Crime’ hypothesis”); Emily
Badger, More Guns, Less Crime? Not Exactly, WASH. POST (July 29, 2014),
https://www.washingtonpost.com/news/wonk/wp/2014/07/29/more-guns-less-
crime-not-exactly/.


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unable to replicate his findings30 or reached opposite conclusions,31 or who believe

that Lott’s analytical model is unreliable and may be used to achieve almost any

desired outcome.32 Gun policy experts now consider Lott’s research to be

“completely discredited,”33 and, as discussed above, recent research shows that the

very opposite of Lott’s hypothesis is true: stronger restrictions on firearm carry

reduce crime and enhance safety. Outlier activists and questionable research

methodologies do not change the conclusion reached by reliable study after reliable

study: more guns in spaces make us less safe.

              3.    Science Supports the Conclusion that New York’s Law Will
                    Promote Safety.

        As explained above, science demonstrates that more guns do not make

spaces safer; in fact, they have the opposite effect. New York’s law takes steps to

promote safety by empowering private property owners in the way that they decide

whether they want to allow firearms—and the danger that comes with them—onto



30
  The National Research Council disagreed with Lott’s central claim and noted
that in fact, “it is at least possible that errors” in the crime data Lott used may
account for his results. Firearms and Violence—A Critical Review 137 (Charles F.
Wellford et al. eds., 2004), https://www.nap.edu/read/10881/chapter/8#137.
31
  Abhay Aneja et al., The Impact of Right to Carry Laws and the NRC Report: The
Latest Lessons for the Empirical Evaluation of Law and Policy (Stan. L. and Econ.
Olin Working Paper No. 461, 2014),
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2443681.
32
     See Ayres & Donohue, supra note 29 at 1230.
33
     See Badger, supra note 29.


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their private property. In passing this law, New York has acted in the interest of

safety, and the balance between the reasons motivating New York’s law and the

degree of its restrictions—its “why” and “how”—remains in keeping with the

“balance struck” by earlier generations. That balance is precisely the type of

judgment that legislatures are best able to make, not courts second-guessing the

people’s decision.

                                  CONCLUSION

      This Court should reverse the district court’s order granting the preliminary

injunction.

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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure 32(a)(7)(C), the

undersigned certifies that this brief contains 6,367 words, excluding the parts of the

brief exempted by Federal Rule of Appellate Procedure 32(a)(7)(B)(iii), and has

been prepared in proportionally spaced typeface using 14-point Times New Roman

font. As permitted by Federal Rule of Appellate Procedure 32(a)(7)(C), the

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Dated: January 30, 2023

                                              /s/ P. Benjamin Duke
                                              P. Benjamin Duke




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                          CERTIFICATE OF SERVICE

      I hereby certify that on January 30, 2023, an electronic copy of the foregoing

was filed with the Clerk of Court for the United States Court of Appeals for the

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